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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII

                             )
   RANDAL CHUNFAT            )                 CIVIL NO.
             Plaintiff,      )
                             )
             vs.             )                 COMPLAINT;
                             )                 SUMMONS
                             )
   HAWAII FAMILY HEALTH, )
   INC.                      )
             Defendant       )
   _________________________ )

                                 COMPLAINT
   Plaintiff RANDAL CHUNFAT [hereinafter “Plaintiff”] through his
   undersigned counsel, avers and alleges:
    1.        This Court has original jurisdiction under 28 U.S.C. § 1331 because a
         federal question is raised herein, namely Plaintiff’s alleged violation of
         the Americans With Disabilities Act of 1990, 42 U.S.C. §§ 12101 et
         seq., and this Court has pendant jurisdiction over the alleged violation of
         Hawaii Revised Statutes Chapter § 489, prohibiting discrimination in
         public accommodations.
         2.    Venue lies in this Court because all events material hereto occurred
              within the District of Hawaii.
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      3.    Plaintiff was and is a person with a disability being substantially
           limited in his mobility for a number of reasons, physical conditions
           that qualify him as disabled under federal and state law.
      4.    Defendant HAWAII FAMILY HEALTH, INC. [“Defendant”] does
           business in Hawaii as a domestic professional corporation, registered
           with the State of Hawaii Dept. of Commerce and Consumer Affairs’
           Business Registration Division as being engaged in health care
           provision. Defendant is a public accommodation, operating a place
           of public accommodation at 633 Ponahawai Street #102 in Hilo,
           County of Hawaii. Its principals are Aura Milar, Alicia Wilson and
           Michelle Mitchell.
      5. Plaintiff pursued and exhausted all administrative relief through the
           State of Hawaii Civil Rights Commission.
      6. This Complaint is timely filed.

                                    FACTS
      7.    On February 9, 2021, the Plaintiff took his wheelchair-bound,
           mentally-disabled mother to the Defendant’s office for a scheduled
           appointment.
      8.    Plaintiff was assisted by his service animal, an American Pit Bull.
      9.    Plaintiff has owned his service dog for eight years.
      10. Plaintiff’s service dog performs numerous tasks to facilitate his
           daily life among other tasks: rising from the seated position,
           ambulating on his two artificial hips, and taking medication on time.
      11. Plaintiff called the Defendant’s office on the day of his mother’s
           appointment to inform the Defendant that he was replacing his
           brother as their mother’s companion and that he was going to be
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          accompanied by his service dog. Defendant asked no questions about
          his service dog. The Defendant made no comments, imposed no
          conditions, and raised no objections about his service dog.
      12. When the Plaintiff and mother arrived about 3:45 p.m. about fifteen
          minutes early for his mother’s 4:00 p.m. scheduled appointment, they
          were checked in and left to wait in the reception area. Nothing was
          said or asked during that time about the Plaintiff’s dog.
      13. After waiting about thirty minutes an employee of Defendant told
          Plaintiff that it did not allowed dogs in the office.
      14. Plaintiff explained that his dog was a service animal. But the same
          Defendant employee insisted that his dog was not a service animal
          because of its size and breed. She explained she and the staff had
          been researching service animal requirements online since he had
          arrived and were certain his dog did not meet the requirements
          because it was too big and didn’t have an identifying vest.
      15. Plaintiff informed that person that she was incorrect and reiterated
          that his dog was a qualified service animal. He produced a written
          note from his now deceased doctor certifying it was a service animal.
      16. After another fifteen minutes a different one of Defendant’s
          employees came to the Plaintiff and told him the doctor could not
          treat his mother because he needed a power of attorney. Plaintiff
          explained that because the nursing care home which was discharging
          his mother and which had arranged Defendant’s services had required
          power of attorney documents from him and his brother, Plaintiff
          suggested she examine his mother’s records. She left and when she
          returned, she admitted she had found the necessary power of attorney.
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      17. By now nearly sixty minutes had passed since Plaintiff and her
            mother had arrived. Then one of Defendant’s employees told
            Plaintiff he would have to reschedule his mother’s appointment
            because it was too late for the doctor to see his mother on that day.
            Plaintiff was upset.
      18. The Plaintiff called the Defendant first thing the next day to get an
            explanation why he and his mother had been denied service the day
            before. The Defendant’s employee admitted they had misunderstood
            the service animal law and that it should not have kept them waiting
            until they were literally unserved and constructively denied service.
      19. Plaintiff lives in Hilo not far from the Defendant’s office, has a
            number of his own on-going medical conditions requiring medical
            care and has responsibilities for his mother’s care. He will definitely
            include the Defendant in his future medical plans if and when
            Defendant ensures service animal law is correctly applied.
                                CAUSES OF ACTION
      20.     Plaintiff brings a cause of action pursuant to 42 U.S.C. § 12182(a)
            and 42 U.S.C. § 12182(a)(2)(A)(ii) based on the Defendant’s denial
            of his full and equal enjoyment of its goods, services, and facilities
            because of his disability for which he is benefitted by the use of a
            service animal. Specifically Defendant refused to make the
            reasonable modification to its animal policy by permitting the
            Plaintiff’s service animal in its office.
      21. Plaintiff also brings a cause of action for violation of Hawaii
            Revised Statutes § 489-3 based on the Defendant’s denying him full
            and equal enjoyment of its goods, services, and facilities because of
            his disability for which he is benefitted by use of a service animal.
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          Specifically Defendant refused to permit his dog to be in its office
          although his dog is an animal trained to perform tasks ameliorating
          several of his disabling conditions.
                             RELIEF SOUGHT
      22. Plaintiff seeks both legal and equitable relief.
      23. Pursuant to 42 U.S.C. § 12188(a)(1) the plaintiff seeks an injunction
          requiring the defendants to train their employees interacting with the
          public as part of their job duties on the correct protocol for service
          animals.
      24. Pursuant to Hawaii Revised Statutes § 489-7.5(a)(2) the plaintiff
          seeks an injunction requiring the defendants to train their employees
          interacting with the public as part of their job duties on the correct
          protocol for service animals.
      25. Pursuant to Hawaii Revised Statutes § 489-7.5(a)(1) the plaintiff
          seeks damages three times the amount of damages to be shown at
          trial.
      26. Pursuant to 42 U.S.C. § 12205 the plaintiff seeks all his reasonable
          attorney’s fees and litigation costs.
      27. Pursuant to Hawaii Revised Statutes §489-7.5(a)(1) the plaintiff
          seeks all reasonable attorney’s fees and costs of litigation.
      28. Plaintiff requests any and all further relief the Court deems justified
          by the evidence adduced.
          DATED: Honolulu, Hawaii, December 28, 2021
         /s/ LUNSFORD DOLE PHILLIPS
               Attorney for Plaintiff
